Case 3:22-cv-00184 Document 1-21 Filed on 06/02/22 in TXSD Page 1 of 2




          Exhibit 21
         Case 3:22-cv-00184 Document 1-21 Filed on 06/02/22 in TXSD Page 2 of 2




                     MAINE DEPARTMENT OF PROFESSIONAL & FINANCIAL REGULATION
                                  Office of Professional and Occupational Regulation
                                               BOARD OF PHARMACY
                                          35 State House Station, Augusta, ME 04333
                              Location: Gardiner Annex, 76 Northern Avenue, Gardiner, ME 04345
                                           Web Address: www.maine.gov/professionallicensing
Janet T. Mills
  Governor




                          BOARD STATEMENT #01-2021
                               MAINE BOARD OF PHARMACY
                                                 (9/28/2021)



                  STATEMENT OF THE MAINE BOARD OF PHARMACY
                          ON DISPENSING IVERMECTIN


      There have been reports nationally, as well as in Maine, of an increase in the number of
      ivermectin prescriptions issued by health care practitioners to prevent or treat COVID-19.

      IN ORDER TO PROTECT THE PUBLIC HEALTH AND WELFARE, THE BOARD
      REMINDS MAINE PHARMACISTS THAT:

      The United States Food and Drug Administration (U.S. FDA) states that ivermectin is not
      authorized or approved for use in prevention or treatment of COVID-19. According to U.S.
      FDA, ivermectin is approved for human use to treat infections caused by some parasitic
      worms, head lice and skin conditions like rosacea. More information from U.S. FDA is found
      here: U.S. FDA Consumer Update on Ivermectin for Human Use.

      The United States Centers for Disease Control and Prevention (U.S. CDC) issued a Health
      Alert on August 26, 2021, concerning the increased dispensing of ivermectin by retail
      pharmacies. The Health Alert states that adverse effects associated with ivermectin misuse
      and overdoses are increasing, as shown by a rise in calls to poison control centers reporting
      overdoses and more people experiencing adverse effects. More information from U.S. CDC
      is found here: U.S. CDC Health Advisory, August 26, 2021.

      Pharmacists should use their professional and clinical judgment and take appropriate steps to
      verify with the applicable prescriber that newly issued prescriptions for ivermectin are issued
      for legitimate medical purposes.


  Issued: September 28, 2021


                                             -     End -
